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                          Exhibit A
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   Plaintiff        Plaintiff’s       Case      PAQ Due       Notice of     Second        Request
                     Counsel         Number        Date       Overdue      Notice of     for Special
                                                (CMO 10,       PAQ         Overdue         Master
                                                 § III(2))   (CMO 10,        PAQ           Review
                                                              § VI(1))                   (CMO 10,
                                                                                           § VI(2))
                   Pulaski
                   Kherkher          3:23-pq-
Brunk, Doyle       PLLC              00916      4/21/2023    4/28/2023    6/2/2023     6/9/2023
                   Pulaski
Jowers,            Kherkher          3:23-pq-
Clifford           PLLC              01572      6/9/2023     6/16/2023    7/21/2023    7/28/2023
                   Pulaski
Walker,            Kherkher          3:23-pq-
Charles            PLLC              01677      6/17/2023    6/24/2023    7/28/2023    8/4/2023
                   The Smith Law
                   Firm, PLLC \
                   Shenaq, PC \
                   Law Offices of
Gorgone, Ross      Ezequiel          3:23-pq-
J.                 Reyna, Jr., PC    01804      6/29/2023    6/30/2023    8/4/2023     10/11/2024
Davis, Terri,
individually       The Smith Law
and on behalf      Firm, PLLC \
of all wrongful    Shenaq, PC \
death              Law Offices of
beneficiaries of   Ezequiel          3:23-pq-
Terry Davis        Reyna, Jr., PC    01907      7/2/2023     7/9/2023     8/11/2023    10/11/2024
                   Pulaski
                   Kherkher          3:23-pq-
Perkins, Jon       PLLC              02182      7/26/2023    7/28/2023    9/1/2023     9/8/2023
                   The Smith Law
                   Firm, PLLC \
                   Shenaq, PC \
                   Law Offices of
Feinstein,         Ezequiel          3:23-pq-
Dawn               Reyna, Jr., PC    03100      10/14/2023   10/20/2023   11/26/2023   10/11/2024
                   Pulaski
                   Kherkher          3:23-pq-
Smith, Max         PLLC              03859      1/6/2024     1/12/2024    2/16/2024    2/23/2024
                   Pulaski
                   Kherkher          3:24-pq-
Ferrell, Scott     PLLC              00870      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                   Pulaski
                   Kherkher          3:24-pq-
Galvin, Freddie    PLLC              00874      4/25/2024    4/26/2024    5/31/2024    6/7/2024
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   Plaintiff       Plaintiff’s     Case      PAQ Due       Notice of     Second        Request
                    Counsel       Number        Date       Overdue      Notice of     for Special
                                             (CMO 10,       PAQ         Overdue         Master
                                              § III(2))   (CMO 10,        PAQ           Review
                                                           § VI(1))                   (CMO 10,
                                                                                        § VI(2))
                  Pulaski
Weesner,          Kherkher        3:24-pq-
Jeffrey A.        PLLC            00875      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
                  Kherkher        3:24-pq-
Pence, James      PLLC            00882      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
                  Kherkher        3:24-pq-
Lien, Alan        PLLC            01291      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
James, Ryan       PLLC            01292      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Lyon, Royce       PLLC            01296      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Todd, George      PLLC            01299      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Olsen, Lisa       Kherkher        3:24-pq-
Lyle              PLLC            01303      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Keough, James     PLLC            01304      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Jones, Tuana      PLLC            01323      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Bailey, Larry     PLLC            01329      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Hartwig,          Kherkher        3:24-pq-
Robert            PLLC            01331      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Evans, Albari     PLLC            01341      6/19/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Sigler, Kenneth   PLLC            01342      6/19/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Sledge, Jerimae   Kherkher        3:24-pq-
W.                PLLC            01349      6/20/2024    6/21/2024    7/26/2024    8/2/2024
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   Plaintiff       Plaintiff’s       Case      PAQ Due       Notice of     Second        Request
                    Counsel         Number        Date       Overdue      Notice of     for Special
                                               (CMO 10,       PAQ         Overdue         Master
                                                § III(2))   (CMO 10,        PAQ           Review
                                                             § VI(1))                   (CMO 10,
                                                                                          § VI(2))
                  Pulaski
                  Kherkher          3:24-pq-
Beck, Kenneth     PLLC              01352      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher          3:24-pq-
Green, James      PLLC              01353      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Matthews,         Kherkher          3:24-pq-
Mitcheal          PLLC              01354      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Hinrichs,         Kherkher          3:24-pq-
James K.          PLLC              01356      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Friedman,         Kherkher          3:24-pq-
Ralph S.          PLLC              01490      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Williams,         Kherkher          3:24-pq-
Kevin             PLLC              01493      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Rodriguez,        Kherkher          3:24-pq-
Ismael            PLLC              01494      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Chipps, James     Kherkher          3:24-pq-
Sr.               PLLC              01495      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
                  Kherkher          3:24-pq-
Moon, Melissa     PLLC              01505      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Barmore,          Kherkher          3:24-pq-
Danny             PLLC              01506      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  The Smith Law
                  Firm, PLLC \
                  Shenaq, PC \
                  Law Offices of
Estrella, Peter   Ezequiel          3:24-pq-
E.                Reyna, Jr., PC    01509      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Kleinjan,         Kherkher          3:24-pq-
Karen             PLLC              01548      7/21/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
                  Kherkher          3:24-pq-
Rupp, Douglas     PLLC              01550      7/21/2024    7/26/2024    8/30/2024    9/6/2024
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   Plaintiff      Plaintiff’s       Case      PAQ Due       Notice of     Second        Request
                   Counsel         Number        Date       Overdue      Notice of     for Special
                                              (CMO 10,       PAQ         Overdue         Master
                                               § III(2))   (CMO 10,        PAQ           Review
                                                            § VI(1))                   (CMO 10,
                                                                                         § VI(2))
                 Pulaski
                 Kherkher          3:24-pq-
Gooch, Nelson    PLLC              01586      7/25/2024    7/26/2024    8/30/2024    9/6/2024
                 Pulaski
                 Kherkher          3:24-pq-
French, David    PLLC              01587      7/25/2024    7/26/2024    8/30/2024    9/6/2024
                 DiCello Levitt    3:24-pq-
Johns, Anthony   Gutzler LLP       01622      7/28/2024    8/2/2024     9/6/2024     9/13/2024
                 Pulaski
                 Kherkher          3:24-pq-
Chason, Gloria   PLLC              01672      8/8/2024     8/9/2024     9/13/2024    9/21/2024
                 Pulaski
                 Kherkher          3:24-pq-
Hanks, Donald    PLLC              01678      8/9/2024     8/16/2024    9/21/2024    9/29/2024
                 Pulaski
                 Kherkher          3:23-pq-
Martinez, Jose   PLLC              02029      6/14/2023    8/25/2024    9/29/2024    10/4/2024
                 Pulaski
McCrady,         Kherkher          3:23-pq-
Lonnie           PLLC              01241      5/17/2023    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
McKinney,        Conway &          3:24-pq-
Richard          Wise LLP          01733      8/17/2024    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
Johnston,        Conway &          3:24-pq-
Kevin            Wise LLP          01736      8/18/2024    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
Layfield,        Conway &          3:24-pq-
Thomas           Wise LLP          01739      8/18/2024    8/25/2024    9/29/2024    10/4/2024
                 The Smith Law
                 Firm, PLLC \
                 Shenaq, PC \
                 Law Offices of
Severino, John   Ezequiel          3:24-pq-
S.               Reyna, Jr., PC    01256      6/8/2024     9/13/2024    10/20/2024   10/25/2024
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                                           #45029



   Plaintiff       Plaintiff’s     Case      PAQ Due       Notice of     Second        Request
                    Counsel       Number        Date       Overdue      Notice of     for Special
                                             (CMO 10,       PAQ         Overdue         Master
                                              § III(2))   (CMO 10,        PAQ           Review
                                                           § VI(1))                   (CMO 10,
                                                                                        § VI(2))
                  Pulaski
                  Kherkher        3:24-pq-
Barton, Max       PLLC            01916      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
                  Kherkher        3:24-pq-
Firkus, Vincent   PLLC            01946      9/19/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Nowden,           Kherkher        3:24-pq-
Charles           PLLC            01975      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher        3:24-pq-
Conley, Bruce     PLLC            01978      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher        3:24-pq-
Locke, Larry      PLLC            01988      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
Ninneman,         Kherkher        3:24-pq-
Scott             PLLC            02004      9/22/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher        3:24-pq-
Reaves, Donna     PLLC            02085      9/29/2024    10/4/2024    11/8/2024    11/15/2024
                  Pulaski
Henderson,        Kherkher        3:24-pq-
Michael           PLLC            02087      9/29/2024    10/4/2024    11/8/2024    11/15/2024
                  Pulaski
McPheeters,       Kherkher        3:24-pq-
Danny             PLLC            02101      10/3/2024    10/4/2024    11/8/2024    11/15/2024
                  Pulaski
Gravesande,       Kherkher        3:24-pq-
Kesheda           PLLC            02112      10/3/2024    10/4/2024    11/8/2024    11/15/2024
                  Pulaski
Alvarez,          Kherkher        3:24-pq-
Cornelio          PLLC            02114      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                  Pulaski
Adams,            Kherkher        3:24-pq-
Jeanette          PLLC            02120      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                  Pulaski
                  Kherkher        3:23-pq-
Martinez, Jose    PLLC            02029      7/14/2023    11/29/2024   1/3/2024     1/10/2025
                  Pulaski
Eggers,           Kherkher        3:23-pq-
William           PLLC            03296      11/5/2023    11/29/2024   1/3/2024     1/10/2025
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  Plaintiff      Plaintiff’s      Case      PAQ Due       Notice of     Second        Request
                  Counsel        Number        Date       Overdue      Notice of     for Special
                                            (CMO 10,       PAQ         Overdue         Master
                                             § III(2))   (CMO 10,        PAQ           Review
                                                          § VI(1))                   (CMO 10,
                                                                                       § VI(2))
                 Pulaski
Kindle,          Kherkher        3:23-pq-
William          PLLC            03298      11/5/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
McCrady,         Kherkher        3:23-pq-
Lonnie           PLLC            01241      5/17/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
Christopherson, Kherkher         3:24-pq-
Robert Jr.       PLLC            02000      9/22/2024    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
                 Kherkher        3:23-pq-
Lance Lawson PLLC                03125      10/18/2024   11/29/2024   1/3/2024     1/10/2025
                 Johnson Law     3:24-pq-
Powell, Lee      Group           02362      11/24/2024   11/29/2024   1/3/2025     1/10/2025
Rush, Brenda,
Individually
and as Personal
Representative
of the Estate of
Douglas Roark, Nachawati Law     3:24-pq-
Deceased         Group, PLLC     02541      12/26/2024   1/3/2025     2/16/2025    2/28/2025
                 Torhoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
                 Conway &        3:24-pq-
Smith, Brian     Wise LLP        02557      1/2/2025     1/3/2025     2/16/2025    2/28/2025
